

Matter of Brown (2019 NY Slip Op 01885)





Matter of Brown


2019 NY Slip Op 01885


Decided on March 14, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 14, 2019

[*1]
In the Matter of MICHAEL R. BROWN, an Attorney. 

(Attorney Registration No. 2363604) 

Calendar Date: March 4, 2019




Before: Lynch, J.P., Clark, Aarons, Rumsey and Pritzker, JJ.

Michael R. Brown, Dana Point, California, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Michael R. Brown was admitted to practice by this Court in 1981 and lists a business address in Irvine, California with the Office of Court Administration. Brown now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Chief Attorney.
As is noted by AGC, Brown is presently delinquent in his New York attorney registration requirements, having failed to register for the biennial period beginning in 2018 (see Judiciary Law § 468-a; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1). Inasmuch as Brown is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Professional Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [2014]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]). Further, any future application by Brown must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [2017]).
Lynch, J.P., Clark, Aarons, Rumsey and Pritzker, JJ., concur.
ORDERED that Michael R. Brown's application for permission to resign is denied.








